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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           2:10-CR-00299-WBS

12                                  Plaintiff,           STIPULATION AND ORDER TO SETTLE THIRD
                                                         PARTY CLAIM OF SHARON HARRIS TO
13                          v.                           SPECIFIED ASSET SUBJECT TO FORFEITURE
                                                         FROM DEFENDANT JAMES HOWARD
14   JAMES HOWARD REDMILL, et al.,                       REDMILL

15                                  Defendants.

16

17   SHARON HARRIS,

18                                  Petitioner.

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20

21          This stipulation is entered into between the United States of America and petitioner Sharon
22 Harris as to her partial interest in the real property located at 8250 Wild Turkey Road, Igo, California,

23 APN: 042-140-014-000, which was forfeited from defendant James Howard Redmill pursuant to a plea

24 agreement filed on June 1, 2012, according to the following terms:

25          1.      Following the entry of plea, the United States moved for a Preliminary Order of
26 Forfeiture regarding the above-listed real property based on its connection to Redmill’s drug violations.
27          2.      On July13, 2012, the Court entered a Preliminary Order of Forfeiture, forfeiting
28 Redmill’s interest in real property located at 8250 Wild Turkey Road, Igo, California, APN: 042-140-

                                                         1
                                                                    Stipulation and Order to Settle Third Party
                                                                    Claim of Sharon Harris
             Case 2:10-cr-00299-WBS Document 369 Filed 03/11/14 Page 2 of 2


 1 014-000, based on the property’s involvement in his drug conviction.

 2          3.     On November 29, 2012, Sharon Harris, filed a Petition for an Ancillary Hearing

 3 regarding the real property located at 8250 Wild Turkey Road, Igo, California, APN: 042-140-014-000.

 4 Harris claimed she has owned the property jointly with defendant Redmill since January 22, 2005.

 5          4.     No other party or entity has filed a petition asserting an interest in the real property, and

 6 the time in which any person or entity may file a petition has expired.

 7          5.     Counsel for the United States and counsel for Sharon Harris have reached a settlement

 8 agreement regarding the real property and will file a Stipulation for Final Order of Forfeiture and
 9 Proposed Final Order of Forfeiture once James Howard Redmill has been sentenced. Defendant
10 Redmill’s sentencing is currently scheduled for May 12, 2014.

11          6.     The parties agree that it is not necessary for the Court to schedule an Ancillary Hearing in

12 this case.

13          7.     All parties are to bear their own costs and attorneys' fees, if any.

14 Dated: March 2, 2014                                       BENJAMIN B. WAGNER
                                                              United States Attorney
15
16                                                            /s/ Kevin C. Khasigian
                                                              KEVIN C. KHASIGIAN
17                                                            Assistant U.S. Attorney
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19 Dated: 3/7/14                                          /s/ Chris Cosca
                                                          CHRIS COSCA
20
                                                          Attorney for Petitioner Sharon Harris
21

22                                                       ORDER
23

24                 IT IS SO ORDERED.
25          Dated: March 11, 2014
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                                                          2
                                                                      Stipulation and Order to Settle Third Party
                                                                      Claim of Sharon Harris
